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                              12                                UNITED STATES DISTRICT COURT
   LONG BEACH, CA 90802
   DANNIS WOLIVER KELLEY




                              13                               NORTHERN DISTRICT OF CALIFORNIA

                              14                                    SAN FRANCISCO DIVISION

                              15

                              16   STATE OF CALIFORNIA, et al.,                  Case No. 3:18-cv-01865-RS

                              17                 Plaintiffs,
                                   v.                                            LOS ANGELES UNIFIED SCHOOL
                              18                                                 DISTRICT’S NOTICE OF JOINDER IN,
                                   WILBUR L. ROSS, JR., et al.,                  AND SUPPLEMENT TO, PLAINTIFFS’
                              19                                                 PROPOSED FINDINGS OF FACT AND
                                                 Defendants.                     CONCLUSIONS OF LAW
                              20
                                                                                 Judge: Hon. Richard Seeborg
                              21                                                 Courtroom: 3

                              22                                                 Complaint filed March 26, 2018
                                                                                 First Amended Complaint filed May 4, 2018
                              23
                                                                                 Trial date: January 7, 2019
                              24

                              25   TO THE COURT, PARTIES, AND ATTORNEYS OF RECORD:
                              26          PLEASE TAKE NOTICE that plaintiff-intervenor Los Angeles Unified School District
                              27   (“LAUSD” or “District”) respectfully joins in the proposed findings of fact and conclusions of
                              28   law submitted by plaintiffs’ State of California, County of Los Angeles, City of Los Angeles,
                                                                              1
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                               1   City of Fremont, City of Long Beach, City of Oakland, and City of Stockton’s (collectively,

                               2   “Plaintiffs”) filed on December 28, 2018.

                               3          LAUSD’s claims in this litigation are substantially identical to Plaintiffs’ claims. In the

                               4   interest of judicial economy and to avoid redundancy and undue burden, LAUSD joins in

                               5   Plaintiffs’ proposed findings of fact and conclusions of law. As set forth below, LAUSD sets

                               6   forth several supplemental findings of fact and conclusions of law relating to LAUSD’s injuries

                               7   and standing.

                               8

                               9   DATED: December 28, 2018                          DANNIS WOLIVER KELLEY
                                                                                     SUE ANN SALMON EVANS
                              10                                                     KEITH A. YEOMANS

                              11
                                                                                     By: /s/ Keith A. Yeomans
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                                                                                     Los Angeles Unified School District
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DWK DMS 3337610v1                      NOTICE OF JOINDER IN, AND SUPPLEMENT TO, PLAINTIFFS’ PROPOSED FINDINGS OF FACT
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                               1    SUPPLEMENTAL PROPOSED FINDINGS OF FACTS AND CONCLUSIONS OF LAW

                               2   I.     Injuries to LAUSD

                               3          The evidence at trial will establish that adding a citizenship question to the 2020 decennial

                               4   census will cause two distinct harms to Los Angeles Unified School District (“LAUSD”).

                               5   Adding a citizenship question will cause a decline in self-reporting leading to a differential

                               6   undercount that will cause LAUSD to lose federal funding it would otherwise be entitled to. Also,

                               7   adding a citizenship question will cause a decline in census data quality, which will injure

                               8   LAUSD inasmuch as LAUSD relies upon census data for its decennial redistricting.

                               9          A.      Loss of Federal Funding

                              10          As established in Plaintiffs’ proposed findings of fact and conclusions of law, the

                              11   evidence at trial will demonstrate the likely undercount of noncitizen households and Hispanic
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                              12   households. Several federal educational funding programs allocate funds based upon decennial
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                              13   population data. Because of LAUSD’s disproportionately large non-citizen and Hispanic

                              14   populations, the differential undercount resulting from the addition of the citizenship question

                              15   will cause a disproportionate reduction in LAUSD’s federal education funding entitlements.

                              16          1.      LAUSD is the public school district encompassing the City of Los Angeles and

                              17   several surrounding communities and is the largest school district within the state of California.

                              18   Undisputed Fact no. 8.

                              19          2.      LAUSD is the second largest school district in the country. Trial Testimony of P.

                              20   Escudero.

                              21          3.      LAUSD’s student enrollment for the 2017-18 school year was 513,592. Trial

                              22   testimony of P. Escudero; PTX-854.

                              23          4.      LAUSD’s percentage of economically disadvantaged students for the 2017-18

                              24   school year was 82%, which is above the national average. Trial testimony of P. Escudero; PTX-

                              25   853.

                              26          5.      LAUSD’s percentage of Hispanic students for the 2017-18 school year was 73%,

                              27   which is above both the state and national averages. Trial testimony of P. Escudero; PTX-851.

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                               1          6.      LAUSD’s boundaries encompass a non-citizen population of 19.6%, which is

                               2   above both the state (13.0%) and national (6.9%) averages. Trial testimony of A. Reamer; PTX-

                               3   838.

                               4          7.      The federal government uses Decennial Census data to allocate hundreds of

                               5   billions of dollars in public funding each year, including to states and local governments.

                               6   Undisputed Fact no. 52.

                               7          8.      Approximately 132 programs used Census Bureau data to distribute hundreds of

                               8   billions of dollars in funds during fiscal year 2015. Undisputed Fact no. 53.

                               9          9.      Among the programs that use Census Bureau data are Title I educational grant

                              10   funds run by the U.S. Department of Education, which uses Census Bureau data as part of its

                              11   allocation formula under 20 U.S.C. § 6333(c). Undisputed Fact no. 57.
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                              12          10.     Title I provides federal financial assistance to local educational agencies with high
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                              13   numbers or high percentages of children from low-income families. Local educational agencies

                              14   typically include school districts, charter schools, county offices of education, and similar

                              15   educational entities that operate locally and not directly by the state. Trial testimony of K.

                              16   Ryback and A. Reamer.

                              17          11.     Title I funds are allocated through a series of federal grants based on the number of

                              18   ‘qualifying children’ within an LEA. Qualifying children include economically disadvantaged

                              19   children between 5 and 17 years old. Economic disadvantage is determined primarily on census

                              20   poverty estimates, foster youth receiving government aid, and the cost of education in each state.

                              21   Trial testimony of K. Ryback and A. Reamer.

                              22          12.     Title I funds are allocated to local educational agencies through a series of four

                              23   federal grants—basic grants, concentration grants, targeted grants, and educational finance

                              24   incentive grants. 20 U.S.C. §§ 6333, 6334, 6335, & 6337; Trial testimony of K. Ryback and A.

                              25   Reamer.

                              26          13.     For each of the four types of Title I grant funds, a local educational agency’s

                              27   entitlement is based on the number of qualifying children within a local educational agency.

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                               1          14.     20 U.S.C. §§ 6333 subds. (a)(1)(A) & (c), 6334 subd. (a)(1)(A), 6335 subds.

                               2   (a)(1)(A) & (c), & 6337, subd. (b)(1)(A); Trial testimony of K. Ryback and A. Reamer.

                               3          15.     For purposes of Title I, the number of qualifying children within a local

                               4   educational agency is calculated using data from the most recent decennial census. 20 U.S.C.

                               5   § 6333(c); Trial testimony of K. Ryback and A. Reamer.

                               6          16.     LAUSD has more Title I qualifying children and correspondingly receives a

                               7   greater allocation of Title I funds than any other school district in California. Trial testimony of

                               8   K. Ryback and A. Reamer; PTX-845; PTX-847.

                               9          17.     In the 2017-18 school year, LAUSD received $333,498,040 in Title I funds. In the

                              10   2016-17 school year, LAUSD received $329,413,803 in Title I funds. In the 2015-16 school

                              11   year, LAUSD received $299,618,648 in Title I funds. Trial testimony of K. Ryback; PTX-845;
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                              12   PTX-847.
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                              13          18.     The addition of a citizenship question on the 2020 decennial census will cause

                              14   some measurable decline in Title I funding to California. Trial testimony of S. Gurrea, B. Fraga,

                              15   & A. Reamer.

                              16          19.     Given the disproportionately high percentage of Hispanics and non-citizens within

                              17   LAUSD’s student and general populations, the addition of a citizenship question on the 2020

                              18   decennial census will cause some measureable loss in Title I funding to LAUSD. Trial testimony

                              19   of S. Gurrea, B. Fraga, A. Reamer, P. Escudero, & K. Ryback; PTX-838; PTX-845, PTX-847,

                              20   PTX-851, PTX-853.

                              21          20.     In the context of economic loss, the loss of a single dollar constitutes an injury in

                              22   fact. Carpenters Indus. Council v. Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017); Animal Welfare Inst. v.

                              23   Kreps, 561 F.2d 1002, 1008 (D.C. Cir. 1977).

                              24          21.     Standing for all plaintiffs is satisfied so long as any single plaintiff establishes

                              25   standing. Centro de la Comunidad Hispana de Locust Valley v. Town of Oyster Bay, 868 F.3d

                              26   104, 109 (2d Cir. 2017).

                              27   //

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                               1            B.     LAUSD’s Injury Resulting from Decline in Census Data Quality

                               2            As established in Plaintiffs’ Proposed Findings of Fact and Conclusions of Law, the

                               3   evidence at trial will demonstrate that the addition of the citizenship question to the 2020

                               4   decennial census will decrease the census data quality, both in terms of overall enumeration

                               5   accuracy and as to population characteristics. LAUSD relies upon the accuracy of census

                               6   population data for its decennial redistricting. Any decline in census data quality will injure

                               7   LAUSD by rendering LAUSD’s redistricting efforts more difficult, less accurate, and less

                               8   responsive to local communities of interest.

                               9            22.    States, counties, cities, and local public entities also use Decennial Census data to

                              10   draw congressional, state, and local legislative districts. Undisputed Fact no. 51.

                              11            23.    After every decennial census, LAUSD and the City of Los Angeles are required to

                                   review and, if necessary, redraw the boundaries for LAUSD’s seven Board Districts in order to
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                              12
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                              13   comply with federal and state law. LA City Charter, art. VIII, § 802.

                              14            24.    A joint LAUSD and City of Los Angeles redistricting commission uses census

                              15   citizen voting age population with race and ethnicity data in order to prepare a proposed

                              16   redistricting plan for consideration by the City Council. LA City Charter, art. VIII, § 802; Trial

                              17   Testimony of J. Crain; PTX-855; PTX-856; PTX-857; PTX-858.

                              18            25.    The Census Bureau admits that addition of a citizenship question to the 2020

                              19   decennial census will result in a decline in census data quality. Trial testimony of J. Abowd and

                              20   L. Handley.

                              21            26.    LAUSD depends upon the quality of census citizen voting age population with

                              22   race and ethnicity data to evaluate and comply with federal and state voting rights laws and to

                              23   identify and maintain local communities of interest. Trial Testimony of J. Crain; PTX-855; PTX-

                              24   856; PTX-857; PTX-858.

                              25            27.    Any decline in census data quality will impair LAUSD’s efforts to accurately

                              26   redraw district boundaries while preserving local communities of interest. Trial Testimony of J.

                              27   Crain.

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                               1          28.     Where a defendant has a duty to provide accurate information, failure to so creates

                               2   an injury-in-fact sufficient to confer standing. See, e.g., Pub. Citizen v. U.S. Dep’t of Justice, 491

                               3   U.S. 440, 449-51 (1989) (plaintiff had standing to sue under the Federal Advisory Committee Act

                               4   for failure to make publicly available reports and minutes of American Bar Association meetings

                               5   relating to prospective judicial nominees); see also FEC v. Akins, 524 U.S. 11, 20-21 (1998)

                               6   (plaintiff voters had standing to sue the Federal Election Commission on the ground that the

                               7   statute in question gave plaintiffs a right to the information being withheld by the FEC); see also

                               8   Ctr. for Food Safety v. Price, No. 17-cv-3833 (VSB), 2018 WL 4356730, at *5 (S.D.N.Y. Sept.

                               9   12, 2018) (informational injury satisfies the injury-in-fact requirement of standing where a

                              10   statutory provision has explicitly created a right to information).

                              11          29.     An injury sufficient to create standing is created not only by a total deprivation of
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                              12   information to which plaintiffs have a statutory right, but also by the deprivation of accurate or
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                              13   truthful information. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-74 (1982) (holding

                              14   that because the Fair Housing Act created a statutory right to truthful information concerning the

                              15   availability of housing, “testers” who were misinformed had standing to sue without

                              16   demonstrating any further injury).

                              17          30.     Defendants’ decision to add a citizenship question, and the resulting impairment of

                              18   data quality, harms Plaintiffs’ interests in accurate information and is sufficient to establish

                              19   injury-in-fact. Havens Realty, 455 U.S. at 373-74; see also FEC, 524 U.S. at 20-21; Pub. Citizen,

                              20   491 U.S. at 449-51; Ctr. for Food Safety, 2018 WL 4356730, at *5.

                              21

                              22   DATED: December 28, 2018                            DANNIS WOLIVER KELLEY
                                                                                       SUE ANN SALMON EVANS
                              23                                                       KEITH A. YEOMANS

                              24
                                                                                       By: /s/ Keith A. Yeomans
                              25                                                       SUE ANN SALMON EVANS
                                                                                       KEITH A. YEOMANS
                              26                                                       Attorneys for Plaintiff-Intervenor
                                                                                       Los Angeles Unified School District
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